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                             EXHIBIT A
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February 23, 2018

Homeland Security Investigations




Re:
       Our Case No. 3648623


Dear SA Huang,

The undersigned certifies being the custodian of the records to which this certificate is annexed,
that these records are true and accurate photocopies of records maintained in the actual course of
business of this institution, further, that it is this institution’s ordinary business to maintain such
records, that such records were made contemporaneously with the transactions stated therein, or
within a reasonable time after said transaction.


Enclosed are copies of the corporate resolution, wire transactions and monthly statements for the
below listed account(s) for the period stated as requested. Please note that as per McKinney’s
Banking Law paragraph 128§ HSBC Bank USA, N.A. has a retention period of seven years thus
documents dating prior to July 2010, may be unavailable.

Exact Name on Account          A/C Number                Type          Period Covered

GLOBAL ALUMINUM                199089850               Checking        07/31/2010-01/15/2015
USA INC

GLOBAL ALUMINUM                199550115               Savings         12/02/2010-01/15/2015
USA INC


Please note that based on the search terms used and the method used for searching Wire Details
using the names/words included in your Subpoena, it is possible that some or all of the matches
provided in the above file can be construed as "false-positive" matches. If you find that to be the
case, please delete/dispose of any information provided that will not aid you in your investigation.


Additionally 1099’s, currency transaction reports, deposits, deposited items and withdrawals are
still being researched at this time and will be forwarded to your office immediately upon receipt.



RESTRICTED - HSBC Bank USA, N.A.
                                                                                        USAO_02812437
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The enclosed materials concern or may concern nonpublic, confidential, proprietary or privileged
business, commercial and/or personal information concerning HSBC Bank USA, N.A., its personnel
and/or its customers, including financial customer information and/or trade secrets. Accordingly,
these materials are subject to all applicable provisions governing the use of such information,
including any protective order or confidentiality obligation, grand jury requirements, or federal or
state Freedom of Information Acts, and may only be used in connection with the above-referenced
matter.


If I can be of further assistance to you in this matter, please contact me at (

Sincerely,


Beth M. Troupe
Legal Paper Regulatory Specialist
Legal Paper Processing
HSBC Bank, USA, N.A.
                    e C-84




RESTRICTED - HSBC Bank USA, N.A.
                                                                                    USAO_02812438
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                                                                                           Summons and Subpoenas Department
                                                                                           PO Box 29728 S4001-01F
                                                                                           Phoenix, AZ 85038
                                                                                           Voice: (480)724-2000




                                        BUSINESS RECORDS DECLARATION
I, Rashunda Neely, am over the age of eighteen and I declare that I am employed by Wells Fargo Bank, N.A. ("Wells Fargo") in
the Summons and Subpoenas Department and am a duly authorized and qualified witness to certify the authenticity of the
attached documents and/or information produced pursuant to the legal order. Wells Fargo reserves the right to designate
another Custodian as it deems appropriate in the event an actual appearance is required concerning the records produced. I
certify that the attached records:
      A)   Were prepared by personnel of Wells Fargo in the ordinary course of business at or near the time of the acts,
           conditions or events described in the records; and
      B)   It was the ordinary course of business for Wells Fargo employees or representatives with knowledge of the act, event,
           or condition recorded to make the record or transmit the information therein to be included in such record.
      C)   The records attached are true and correct copies of the business records as maintained by Wells Fargo.

The records produced are described as follows:

                                                    Case number: 19292189
                                                                                                          Paper             Total
                                                                                                          Count            Copies
Document Type                              Account #
Signature Cards                            XXXXXX5919                                                          4                4
   Combined with accounts ending in
   5935.
Checks/Debits                              XXXXXX0041                                                          3                3
Statements                                 XXXXXX9885                                                        119              119
Statements                                 XXXXXX0041                                                        112              112
Checks/Debits                              XXXXXX9885                                                          6                6
Deposits with offsets                      XXXXXX0041                                                         33               33
Signature Cards                            XXXXXX0041                                                          5                5
   Combined with accounts ending in
   9885.
Large Currency                             XXXXXX0041                                                          0                0
  Unable to locate CTR for JASON
  TSER TAU WANG EDUCATION
  FUND within time frame requested.
Signature Cards                            XXXXXX5935                                                          0                0
   Combined with accounts ending in
   5919.
Statements                                 XXXXXX5919                                                         72               72
Signature Cards                            XXXXXX9885                                                          0                0
   Combined with accounts ending in
   0041.
Statements                                 XXXXXX5935                                                          0                0
  See account ending 5919.
Deposits with offsets                      XXXXXX9885                                                         50               50
Large Currency                             XXXXXX5919                                                          0                0


                                          Case No: 19292189; Agency Case No: none


                                                              1 of 2
                                                                                                     USAO_02823375
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   Unable to locate CTR for American
   Apex Aluminum Inc within time
   frame requested.
                                                                                                           Total Copies Delivered:                               404
Additional comments: The Credit Card Applicion for the Account ending in 887618 was Electronic, no image is available. Unable
to locate the following Business entities supplied on the Subpoena: Aluminum Industrial Inc, Aluminum Source Inc, Century
American Aluminum Inc, Global Aluminum (USA) Inc, Pengcheng Aluminum Enterprise Inc-USA and Transport Aluminum, Inc.
Unable to locate the following parties to the Subpoena: Xiangchun, Zhongsuo Liu or Zuopeng.Unable to locate the following
records or items for the parties to the Subpoena: Loan records, Safe Deposit Boxes, Treasury Bills, Securities, or Bonds, Trusts
or Power of Attorney Records
Additional comments:

The bank's standard record retention period is seven years.

I declare under penalty of perjury under the law(s) of the state of California that the foregoing is true and correct according to my
knowledge and belief. Executed on this 26th day of January, 2018, in the City of Chandler, State of ARIZONA.




 Subpoena Processing Representative

 Image copies of requested transactions may be missing for the following reasons:     Items not imaged, corrupted, blank, damaged, destroyed or not available,
 item(s) piggy-backed, electronic transaction(s). If the legal order requests certain types of loan information and other non-depository information, it was
 forwarded to other departments and they will respond to you directly.




                                                     Case No: 19292189; Agency Case No: none


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